Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 1 of 13

IN THE UNITEI) STATES DISTRICT COURT
FOR THE I)ISTR!CT OF MARYLAND

 

KRIS ALCORN and CHRISTIAN
CARTWRIGI~IT, on behalf of themselves and
all others similarly situated,

Plaintiffs, COMPLAINT
-against-

GEORGE MASON MORTGAGE, LLC,
a Virginia limited liability company.

Defendant.

 

 

Plaintiffs, KRIS Al,CORN and CHRISTIAN C/-\RTWRlGHT (“Plaintiffs”), individually
and on behalf of all others similarly situated, file this Complaint (the “Complaint”) against
GEORGE MASON l\/IORTGAGE, LLC (hereinafter “GEORGE MASON” or “Defendant”)._
seeking all available relief under the Fair Labor Standards Act of l938 (“‘FLSA”), 29 U.S.C. §§
201, et. seq., the Maryland Wage and Hour Law, MD. Lab. & Empl. Code §§ 3-401, el. Seq.
(“MWHL”), and the Maryland Wage Payment and Collection Law, l\/ID. Lab. & Empl. Code §§
§ 3-501, er. seq. (“MWPCL”). The following allegations are based on personal knowledge and
are made on information and belief as to the acts of others

Nature of the Action

l. This lawsuit seeks to recover overtime compensation for Plaintiffs and their
similarly situated co-vvorl<ers Who have worked as Mortgage Loan Officers (“i\/ILOS”) for
GEORGE MASON. GEORGE MASON operates from 15 locations in Maryland, Virginia and
Washington, DC. This action is intended to encompass all such locationsl

2. Plaintiffs allege, on behalf of themselves and other current and former similarly

Pagc- l -of13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 2 of 13

situated MLOs employed by Defendant in the United States during or after September 2012
(hereinafter “the FLSA Collective”), that they are entitled to, inter alia: (i) unpaid overtime
wages for hours worked above 40 in a workweek, as required by law, and (ii) liquidated damages
pursuant to the FLSA, 29 U.S.C. §§ 2()1, er seq.

3. Plaintiffs further allege, on behalf of themselves and other current and former
similarly situated MLOs employed by Defendant in Maryland during or after September 2012
(“the Maryland Class”), that Defendant violated the MWHL and MWPCL by failing to pay
Plaintiffs and the Maryland Class overtime at a rate of time and one"half for all hours worked
above 40 in a workweek, and failing to pay the Maryland Class overtime on a timely basis

4. Plaintiffs are entitled to unpaid overtime wages from Defendant for all hours
worked by them above 40 in a workweek, and are also entitled to liquidated damages pursuant to

the FLSA, MWHL and MWPCL.

Jurisdiction and Venue

5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337
and 29 U.S.C. § 216(b)_

6. This Court has jurisdiction over the asserted MWI-IL and MWPCL claims
pursuant to 28 U.S.C. § 1332(d).

7_ This Court also has jurisdiction over the asserted MWHL and l\/IWPCL claims
pursuant to 28 U.S.C. § 1367 because those claims are So related to the FLSA claims that they
form part of the same case or controversy

8. Venue is proper in the District of .l\/laryland pursuant to 28 U.S.C. § 1391(b)(2)
because a substantial part of the events or omissions giving rise to the claims occurred in this

district

Page-2-0f13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 3 of 13

The Parties

Kris Alcorn

9. Plaintiff ALCORN is an adult individual who is a resident of Monrovia,
l\/laryland.

10. ALCORN was employed by GEORGE MASON from approximately April 2012 to
l\/larch 2013 as an l\/ILO in Frederick, l\/laryland.

11. ALCORN is a covered employee within the meaning of the FLSA, the l\/IWHL and
the MWPCL.

12. A written consent form for ALCORN is attached hereto as Exhibit A.
Christian Cartwright

13. Plaintiff CARTWRIGHT is an adult individual who is a resident of _Middletown,
Maryland.

14. CA RTWRIGHT was employed by GEORGE MAS()N from March 2012 to
August 2013 as an MLO in Frederick__ Maryland.

15. CARTWRIGHT is a covered employee within the meaning of the FLSA, the
MWHL and the MWPCL.

16. A written consent form for CARTWRIGHT is attached hereto as EXhibit B.
George Mason

17. GEORGE MASON is a Virginia limited liability company with a principal place
of business in Fairfax, Virginia. At all times material, Defendant conducted business in these
state of l\/[aryland.

18. Throughout the relevant periodq GEORGE MASON employed Plaintiffs and

similarly situated employees within the meaning of the FLSA, the MWHL and the MWPCL.

Page-3-0f13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 4 of 13

GEORGE MASON has had substantial control over Plaintiffs’ working conditions and the
unlawful policies and practices alleged herein.

19. GEORGE MASON is a covered employer within the meaning of the FLSA, the
MWHL and the MWPCL. and, at all times relevant, employed Plaintiffs and similarly situated
employees

20. GEORGE MASON applies the same employment policies practices, and
procedures to all l\/lLOs.

21. At all times relevant_, GEORGE MASON`s annual gross volume of sales made or
business done was not less than $500,000.

22. GEORGE. MASON is the entity listed on Plaintiffs’ paystubs and W-2s.

Factual Background

23. Plaintiffs bring this action pursuant to FLSA, the MWHL and MWPCh on behalf
of themselves and all similarly situated persons who work or have worked for GEORGE
l\/IASON as MLOS during or after September 2012 (“the relevant period”).

24. 'l`hroughout the relevant period, it has been GEORGE MASON’s policy to
uniformly classify MLOs as exempt from federal and state overtime provisions and not to pay
them any overtime wages

25. GEORGE MASON regularly required l\/lLOs to work in excess of 40 hours per
week.

26. During the relevant period, GEORGE MASON paid its MLO’s a flat monthly
salary, which was then deducted from the commissions they eventually generated on the loans

they closed, often referred to as a “draw against commissions.”

27. GEORGE MASON did not pay the ML()s overtime compensation for the hours

Page-4-0f13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 5 of 13

they worked in excess of 40 in a work week, which is a violation of the FLSA, the MWHL and
l\/lWPCL.

28. 'l`he primary duties of MLOS are non-exempt, and included making cold calls to
prospective borrowers, informing prospective borrowers of GEORGE MASON"s loan products,
and obtaining supporting documents for loan applications 1`hese primary duties do not vary
significantly from one GEORGE MASON branch to another. Further. MLOs regularly and
customarily performed their duties within a GEORGE MASON branch.

29. The primary duties of MLOS do not fall under any of the exemptions under the
FLSA` the MWHL and MWPCL.

30. By the conduct described in this Complaint, GEORGE MASON has violated the
FLSAq the MWHL and the MWPCL, by failing to pay MLOs, including Plaintiffs, the overtime
wages they have earned and to which they are entitled by law.

31. GEORGE MASON is aware or should have been aware that the FLSA, the
MWHL and the MWPCL required it to pay employees performing non-exempt duties, including
Plaintiffs, the FLSA Collective and the Minnesota Class Members, an overtime premium for
hours worked in excess of 40 per workweek.

32. Plaintiffs, the FLSA Collective and the Minnesota Class l\/lembers all perform or
performed the same primary dutiesl

33. GEORGE MASON’s unlawful conduct has been widespread, repeated, and
consistent

FLSA Collective Action Allegations

Page-S-of13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 6 of 13

34. Pursuant to 29 U.S.C. §§ 207 and 216(b), Plaintiffs seek to prosecute their FLSA
claims as a collective action on behalf of all persons who are currently or were formerly
employed by Defendant as l\/lLOs within the United States during or after September 2012.

35. As part of its regular business practice, GEORGE MASON has intentionally,
willfully, and repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with
respect to Plaintiffs and the FLSA Collective. This policy and pattern or practice includes, but is not
limited to:

a. willfully failing to pay Plaintiffs and the members of the FLSA Collective

overtime wages for hours that they worked in excess of 40 hours per
workweek;

b. willfully misclassifying Plaintiffs and the members of the FLSA Collective
as exempt from the protections of the FLSA', and

c. willfully failing to record all of the time that its employees, including
Plaintiffs and the FLSA Collective, have worked for the benefit of
GEORGE MAS()N_

36. Defendant is liable under the FLSA for, inter alia, failing to pay proper overtime
wages to Plaintiffs and the FLSA Collective.

37. There are many similarly situated current and former ML()s who have not been
paid proper overtime wages in violation of the FLSA and who would benefit from the issuance
of a court-supervised notice of this lawsuit and the opportunity to join it. Thus, notice should be
sent to the FLSA Collective pursuant to 29 U.S.C. § 216(b).

38. The members of the FLSA Collective are known to Defendant, are readily
identifiable, and can be located through Defendant’s records

Maryland Class Allegations
39. Plaintiffs sue on their own behalf and on behalf of the Maryland Class as defined

in paragraph 3 above, pursuant to Fed. R. Civ. P. 23(a), (b)(2) and (b)(3).

Page-6-ot`13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 7 of 13

40. Defendant violated the MWHL and MWPCL by failing to pay the l\/ILOs
overtime compensation for the hours they worked in excess of 40 in a work week.

41. The Maryland Class is so numerous that joinder of all members is impracticable
Although the precise number of such persons is unknown, these similarly situated employees are
known to Defendant, are readily identifiable, and can be located through Defendant’s records
Upon information and belief, there are at least 50 members of the Maryland Class

42. There are questions of law and fact common to the members of the l\/[aryland
Class that predominate over any questions solely affecting the individual members of the
l\/Iaryland Class, including, without limitation:

a. Whether Defendant employed Plaintiffs and the l\/laryland Class
members within the meaning of the MWH`L and l\/IWPCL;

b. Whether Defendant failed to pay Plaintiffs and the Maryland Class
members for all of the hours they worked;

c. Whether Defendant failed to pay Plaintiffs and the l\/laryland Class
the legally required amount of overtime compensation for hours worked in excess of 40
hours per workweek, in violation of the MWHL and l\/IWPCL and the regulations
promulgated thereunder;

d. Whether Defendant is liable for all damages claimed by Plaintiff
and the Maryland Class, including, without limitation, compensatory, punitive and
statutory damages interest, costs and disbursements and attorneys’ fees;

e. Whether Defendant complied with the record keeping
requirements of the MWHL and l\/I`WPCL', and

f. Whether Defendant should be enjoined from continuing to violate

Page- 7-ofl3

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 8 of 13

the MWHL and MWPCL in the future

43. Plaintiffs’ claims are typical of the claims of the members of the Maryland Class
Plaintiffs have the same interests in this matter as all other members of the l\/laryland Class.

44. Plaintiffs are adequate class representatives committed to pursuing this action,
and have retained competent counsel experienced in wage and hour law and class action
litigation

45. Class certification of Plaintiffs’ MWHL and MWPCL claims is appropriate
pursuant to Fed. R. Civ. Pl 23(b)(2) because Defendant has acted or refused to act on grounds
generally applicable to the class making appropriate both declaratory and injunctive relief with
respect to the l\/laryland Class as a whole. The members of the l\/laryland Class are entitled to
injunctive relief to end Defendant’ common and uniform policy and practice of denying the
l\/laryland Class the wages to which they arc entitled

46_ Class certification of Plaintiffs’ MWHL and MWPCL claims is also appropriate
pursuant to Fedl R. Civ. P. 23(b)(3) because questions of law and fact common to the Maryland
Class predominate over questions affecting only individual members of the Class, and because a
class action is superior to other available methods for the fair and efficient adjudication of this
litigation

47. Plaintiffs know of no difficulty that would be encountered in the management of

this litigation that would preclude its maintenance as a class action.
FIRST CAUSE OF ACTION
Fair Labor Standards Act - Overtime Wages
(Brought on behalf of Plaintiffs and the FLSA Collective)

48. Plaintiffs reallege and incorporate by reference the allegations as set forth above.

Page-S-ofl§

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 9 of 13

49. GEORGE MASON has engaged in a widespread pattern and practice of violating
the FLSA, as described in this Complaint.

50. Plaintiffs have consented in writing to be parties to this action, pursuant to 29
U.S.C. § 216(b).

51. At all relevant times Plaintiffs and other similarly situated current and former
employees were engaged in commerce and/or the production of goods for commerce within the
meaning of 29 U.S.C. §§ 206(a) and 207(a).

52. The overtime wage provisions set forth in §§ 201 er .s'eq_ of the FLSA apply to
GE()RGE MASON.

53. GEORGE MASON is an employer engaged in commerce and/or the production
of goods for commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

54. At all times relevant, Plaintiffs were employees within the meaning of 29 U.S.C.
§§ 203(€) and 207(a).

55. GEORGE l\/IASON has failed to pay Plaintiffs and the FLSA Collective the
overtime wages to which they were entitled under the FLSA.

56. GEORGE MASON’s violations of the FLSA, as described in this Complaint,
have been willful and intentional

57. GEORGE MASON has failed to make a good faith effort to comply with the
FLSA with respect to its compensation ofPlaintiffs and the FLSA Collective.

58. Because GEORGE l\/IASON’s violations of the FLSA have been willful, a three-

year statute of limitations applies pursuant to 29 U.S.C. § 255.

Page-9-of13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 10 of 13

59. As a result of GEORGE- MASON’s willful violations of the FLSA, Plaintiffs and
the FLSA Collective have suffered damages by being denied overtime wages in accordance with
29 U.S.C. §§ 201 eiseq.

60. As a result of the unlawful acts of GEORGE l\/IASON, Plaintiffs and the FLSA
Collective have been deprived of overtime compensation and other wages in amounts to be
determined at trial, and are entitled to recovery of such amounts liquidated damages
prejudgment interest, attorneys’ fees costs and other compensation pursuant to 29 U.S.C. §
216(b).

SECOND CAUSE OF ACTION
Maryland Wage and Hour Law: Unpaid Overtime Wages
(On Behalf of Plaintiffs and the Maryland Class)

61. Plaintiffs reallege and incorporate by reference the allegations as set forth above.

62. At all relevant times Plaintiffs and the l\/laryland Class were employed by
Defendant within the meaning of the MWHL.

63. Defendant willfully violated Plaintiffs’ rights and the rights of the l`\/laryland
Class by failing to pay them the legally required amount of overtime compensation at rates not
less than one and one-half times the regular rate of pay for all hours worked by them in excess of
40 in a workweek in violation ofthe MWHL and its regulations

64. Defendant’s MWl-IL violations have caused Plaintiffs and the Maryland Class
irreparable harm for which there is no adequate remedy at law.

65. Due to Defendant’s MWHL violations Plaintiffs and the Maryland Class are
entitled to recover from Defendant their unpaid wages for the legally required amount of
overtime compensation for all hours worked by them in excess of 40 in a workweek, actual and

liquidated damages including the employer’s share of FlCA, FUTA, state unemployment

Page - 10 ~ of 13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 11 of 13

insurance, and any other required employment taxes reasonable attorneys’ fees and costs and
disbursements of this action, pursuant to l\/IWHL.
THIRD CAUSE ()F ACTION
Maryland Wage Payment and Collection Law:
Unpaid Overtime Wages
(On Bchalf of Plaintiffs and the Maryland Class)

66. Plaintiffs reallege and incorporates by reference the allegations as set forth above.

67_ At all relevant times Plaintiffs and the l\/laryland Class were employed by
Defendant within the meaning of the l\/lWPCL, l\/ID. Code Ann., Labor & Ernpl. § 3-501.

68. Plaintiffs and members of the Maryland Class are entitled to compensation for
time suffered and permitted as work benefitting Defendant

69. Defendant violated the MWPCL- by failing to pay Plaintiffs and the l\/laryland
Class their full wages including overtime compensation, due within the applicable two week
period as set forth MD. Code Ann., Lab. & Empl. §§ 3-502(a)(l)(ii) and 3-507.2.

70. The Defendant’s failure to pay the Plaintiffs and the l\/laryland Class was not the
result of any bona fide dispute between the Defendant, Plaintiffs and the l\/laryland Class within
the meaning of MD. Code Ann., Lab. & Empl. § 3-507.2(b).

7l. Due to the Defendant’s failure to pay the Plaintiffs and the l\/laryland Class their
full overtime wages Plaintiffs and the l\/Iaryland Class are entitled to recover from the Defendant
their unpaid wages treble damages court and other costs and reasonable attorneys’ fees and
expenses as set forth under MD. Code Ann., Lab. & Empl. § 3-5 07.2(b).

72. Defendant’s MWPCL violations have caused Plaintiffs and the l\/laryland Class
irreparable harm for which there is no adequate remedy at law.

Prayer for Relief

WHEREFORE, Plaintiffs and the FLSA Collective, and the l\/laryland Class are entitled

Page-ll-ofl3

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 12 of 13

to. and pray for the following relief:

a.

Designation of this action as an FLSA collective action on behalf of Plaintiffs
and the FLSA Collective, and prompt issuance of notice pursuant to 29 U.S.C. §
216(b) to the FLSA Collective, apprising them of the pendency of this action,
permitting them to assert timely FLSA claims in this action by filing individual
Consents to Join pursuant to 29 U.S.C. § 216(b), and tolling of the statute of
limitations

Ceitification of the l\/laryland Class pursuant to FED. R. Clv. P. 23(b)(2) and
(b)(3), and the appointment of Plaintiffs and their counsel to represent the
members of the l\/laryland Class;

A declaratory judgment that the practices complained of herein are unlawful
under the FLSA, the l\/IWHL and the MWPCL;

An injunction requiring Defendant to cease its unlawful practices under, and
comply with the FLSA, the MWHL and the MWPCL;

An award of unpaid wages for all hours worked in excess of 40 in a workweek at
a rate of time and one-half of the regular rate of pay due under the FLSA, the
MWHL, and the l\/lWPCL;

An award of liquidated and/or punitive damages as a result of Defendant’s
willful failure to pay for all hours worked in excess of 40 in a workweek at a rate
of time and one-half of the regular rate of pay pursuant to 29 U.S.C. § 216, the
MWHL and the MWPCL;

An award of damages representing the employer’s share of FICA, FUTA, state

unemployment insurance, and any other required employment taxes;

Page - 12 - of13

Case 1:15-cv-02727-RDB Document 1 Filed 09/15/15 Page 13 of 13

h. An award of prejudgment and post-judgment interest;
i. An award of costs and expenses of this action together with reasonable attorneys’
and expert fees and an award of a service payment to the Plaintiffs; and

j. Such other and further relief as this Court deems just and proper.

JURY DEMAND

Plaintiffs demand a trial byjury on all issues so triable.

Dated: September 157 2015

Respectfull Submitted.

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Page- 13 - of13

